Case 19-34054-sgj11       Doc 3721 Filed 04/05/23 Entered 04/05/23 11:56:10               Desc
                             Main Document    Page 1 of 4



Sawnie A. McEntire
Texas State Bar No. 13590100
smcentire@pmmlaw.com
1700 Pacific Avenue, Suite 4400
Dallas, Texas 75201
Telephone: (214) 237-4300
Facsimile: (214) 237-4340

Roger L. McCleary
Texas State Bar No. 13393700
rmccleary@pmmlaw.com
One Riverway, Suite 1800
Houston, Texas 77056
Telephone: (713) 960-7315
Facsimile: (713) 960-7347
Attorneys for Hunter Mountain Investment Trust
                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION
 In re:                                          §
                                                 §
 HIGHLAND CAPITAL                                §   Chapter 11
 MANAGEMENT, L.P.                                §
                                                 §   Case No. 19-34054-sgj11
          Debtor.                                §


           HUNTER MOUNTAIN INVESTMENT TRUST’S NOTICE OF APPEAL
TO THE HONORABLE COURT:

          NOTICE IS HEREBY GIVEN that, pursuant to 28 U.S.C. § 158(a) and Rules 8002,

8003, and 8004 of the Federal Rules of Bankruptcy Procedure, Hunter Mountain Investment Trust

(“HMIT”) hereby appeals to the United States District for the Northern District of Texas from the

Order Denying Opposed Application for Expedited Hearing on its Emergency Motion for Leave

to File Verified Adversary Proceeding [DE #3700] (Doc. 3713) (the “Order”), entered by the

United States Bankruptcy Court for the Northern District on March 31, 2023. A true and correct




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Case 19-34054-sgj11          Doc 3721 Filed 04/05/23 Entered 04/05/23 11:56:10                Desc
                                Main Document    Page 2 of 4



copy of the Order is attached hereto as Exhibit A. Pursuant to Rule 8004, HMIT’s Emergency

Motion for Leave to File Interlocutory Appeal is attached hereto as Exhibit B.

To comply with Official Form 417A, HMIT submits the following:

Part 1: Identify the appellant(s)

      1. Name(s) of appellants:

         Hunter Mountain Investment Trust

      2. Position of appellant(s) in the adversary proceeding or bankruptcy case that is the subject

         of this appeal:

         HMIT is a former equity owner in Debtor and a contingent Claimant Trust Interest

         holder.

Part 2: Identify the subject of this appeal

      1. Describe the judgment, order, or decree appealed from:

         Order Denying Opposed Application for Expedited Hearing on its Emergency Motion

         for Leave to File Verified Adversary Proceeding [DE #3700] (Doc. 3713).

      2. State the date on which the judgment, order, or decree was entered:

         March 31, 2023

Part 3: Identify the other parties to the appeal

List the names of all parties to the judgment, order, or decree appealed from and the names,

addresses, and telephone numbers of their attorneys (attach additional pages if necessary):

 1.     Party:                             Attorney:

        APPELLEES

        Muck Holdings, LLC, Jessup    HOLLAND & KNIGHT LLP
        Holdings, LLC, Farallon        Brent R. McIlwain, TSB 24013140
        Capital Management, LLC,       David C. Schulte, TSB 24037456
        Stonehill Capital Management, Christopher Bailey, TSB 24104598
        LLC                            Holland & Knight LLP
                                                  2
Case 19-34054-sgj11            Doc 3721 Filed 04/05/23 Entered 04/05/23 11:56:10                         Desc
                                  Main Document    Page 3 of 4



                                               1722 Routh Street, Suite 1500
                                               Dallas, TX 75201
                                               Tel.: (214) 964-9500
                                               Fax: (214) 964-9501
                                               brent.mcilwain@hklaw.com
                                               david.schulte@hklaw.com
                                               chris.bailey@hklaw.com

       Highland Capital Management,            PACHULSKI STANG ZIEHL & JONES LLP
       L.P., the Highland Claimant             Jeffrey N. Pomerantz (CA Bar No. 143717)
       Trust, and James P. Seery, Jr.,         John A. Morris (NY Bar No. 2405397)
       solely in his capacity as Chief         Gregory V. Demo (NY Bar No. 5371992)
       Executive Officer of Highland           Hayley R. Winograd (NY Bar No. 5612569)
       Capital Management, L.P. 1              10100 Santa Monica Blvd., 13th Floor
                                               Los Angeles, CA 90067
                                               Telephone: (310) 277-6910
                                               Facsimile: (310) 201-0760
                                               Email: jpomerantz@pszjlaw.com
                                               jmorris@pszjlaw.com
                                               gdemo@pszjlaw.com
                                               hwinograd@pszjlaw.com
                                               -and-
                                               HAYWARD PLLC
                                               Melissa S. Hayward (Texas Bar No. 24044908)
                                               Zachery Z. Annable (Texas Bar No. 24053075)
                                               10501 N. Central Expy., Ste. 106
                                               Dallas, Texas 75231
                                               Telephone: (972) 755-7100
                                               Facsimile: (972) 755-7110
                                               Email: MHayward@HaywardFirm.com
                                               ZAnnable@HaywardFirm.com


Part 4: Optional election to have appeal heard by District Court (applicable only in certain
districts)

Not applicable.




1
 The law firm of Pachulski Stang Ziehl & Jones LLP claims to represent Highland Capital Management, LP and
Highland Claimant Trust. However, given the nature of the proceedings at issue, Appellant disagrees and does not
admit that any such representation is substantively or procedurally appropriate in this appeal.

                                                       3
Case 19-34054-sgj11       Doc 3721 Filed 04/05/23 Entered 04/05/23 11:56:10               Desc
                             Main Document    Page 4 of 4



Part 5: Sign below


/s/ Sawnie A. McEntire
Sawnie A. McEntire
Texas State Bar No. 13590100
smcentire@pmmlaw.com
1700 Pacific Avenue, Suite 4400
Dallas, Texas 75201
Telephone: (214) 237-4300
Facsimile: (214) 237-4340

Roger L. McCleary
Texas State Bar No. 13393700
rmccleary@pmmlaw.com
One Riverway, Suite 1800
Houston, Texas 77056
Telephone: (713) 960-7315
Facsimile: (713) 960-7347
Attorneys for Hunter Mountain Investment Trust



                               CERTIFICATE OF SERVICE

       I, undersigned counsel, hereby certify that a true and correct copy of the above and
foregoing document and all attachments thereto were sent via electronic mail via the Court’s ECF
system to all parties authorized to receive electronic notice in this case on this April 5, 2023.

                                                           /s/ Sawnie A. McEntire
                                                           Sawnie A. McEntire




                                               4
